         Case 1:17-cr-00201-ABJ Document 385 Filed 08/26/18 Page 1 of 2



 

                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )
                                               )       Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                         )
                                               )
               Defendant.                      )




         PAUL J. MANAFORT, JR.’S NOTICE OF WAIVER OF APPEARANCE
           AND MOTION FOR ORDER THAT HE NOT BE TRANSPORTED

       Pursuant to Fed. R. Crim. P. 43(a), Paul J. Manafort, Jr., by and through counsel, hereby

waives his right to appear in court other than for his trial and any potential sentencing and moves

the Court for an order that he not be transported to court other than for his trial and any potential

sentencing. Mr. Manafort, having been advised of his right to be present at all stages of the

proceedings, agrees that his interests shall be represented at any pretrial proceedings by the

presence of his attorneys.

       WHEREFORE, Mr. Manafort waives his right to appear in court other than for his trial and

any potential sentencing and moves the Court for an order that he not be transported to court other

than for his trial and any potential sentencing.

Dated: August 26, 2018                                 Respectfully submitted,


                                                       __/s/____________________________
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                                                       (D.C. Bar No. 1013984)
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        Case 1:17-cr-00201-ABJ Document 385 Filed 08/26/18 Page 2 of 2



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                                              /s/                    _________
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